              Case 2:15-cr-00177-TLN Document 68 Filed 08/23/16 Page 1 of 3



 1
     THOMAS A. JOHNSON, #119203
     KRISTY M. KELLOGG, #271250
 2   Law Office of Thomas A. Johnson
     400 Capitol Mall, Suite 1620
 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                )
 9   UNITED STATES OF AMERICA,                  ) Case No.: 2:15-cr-00177-GEB
10                                              )
                  Plaintiff,                    ) DEFENDANT’S STIPULATION AND
11                                              ) [PROPOSED] ORDER
           vs.                                  )
12                                              )
     JASON MATECKI, et al.,                     )
13                                              )
14                Defendants.                   )
                                                )
15
16         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for August 26, 2016, at 9:00 a.m. is continued to
18   October 7, 2016, at 9:00 a.m. in the same courtroom. Defendant needs additional time to
19   prepare for sentencing. Josh Sigal, Assistant United States Attorney, and Thomas A.
20   Johnson, Defendant’s attorney, agree to this continuance.
21
22   IT IS SO STIPULATED.
23
24   DATED: August 11, 2016                          By:    /s/ Thomas A. Johnson
                                                            THOMAS A. JOHNSON
25                                                          Attorney for Jason Matecki

26   DATED: August 11, 2016                                 PHILLIP A. TALBERT
                                                            Acting United States Attorney
27
                                                     By:     /s/ Thomas A. Johnson for
28                                                          JOSHUA SIGAL
                                                            Assistant United States Attorney

                                                                                               1
             Case 2:15-cr-00177-TLN Document 68 Filed 08/23/16 Page 2 of 3



 1   IT IS SO ORDERED.
 2
     Dated: August 23, 2016
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                       IN THE UNITED STATES DISTRICT COURT


                                                                             2
               Case 2:15-cr-00177-TLN Document 68 Filed 08/23/16 Page 3 of 3



 1                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 2
                                                    )
 3   UNITED STATES OF AMERICA,                      )   Case No.: 2:15-cr-00177-GEB
 4                                                  )
                    Plaintiff,                      )   MODIFICATION OF SCHEDULE FOR
 5                                                  )   PRE-SENTENCE REPORT AND FOR
            vs.                                     )   FILING OF OBJECTIONS TO THE PRE-
 6                                                      SENTENCE REPORT
                                                    )
     JASON MATECKI, et al.,                         )
 7                                                  )
 8                  Defendants.                     )
                                                    )
 9
10   Judgment and Sentencing date:                              August 26, 2016
11
12   Reply or Statement                                         August 19, 2016
13   Motion for Correction of the Pre-Sentence
14   Report shall be filed with the court and                   August 12, 2016
     served on the Probation Officer and opposing
15   counsel no later than:
16   The Pre-Sentence Report shall be filed with
17   the court and disclosed to counsel no later                July 29, 2016
     than:
18
     Counsel’s written objections to the Pre-
19
     Sentence Report shall be delivered to the                  July 15, 2016
20   Probation Officer and opposing counsel
     no later than:
21
22
23
24
     I
25
26
27
28


                                                                                           3
